           Case 1:20-cv-03188-MKD                   ECF No. 26        filed 11/08/21       PageID.1794 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action
                                                                                                                    FILED IN THE

                                         UNITED STATES DISTRICT COURT                                           U.S. DISTRICT COURT
                                                                                                          EASTERN DISTRICT OF WASHINGTON

                                                                  for the_
                                                     Eastern District of Washington                           Nov 08, 2021
                                                                                                               SEAN F. MCAVOY, CLERK
                         TRELISTA B.,

                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 1:20-cv-03188-MKD
  KILOLO KIJAKAZI, ACTING COMMISSIONER OF                            )
              SOCIAL SECURITY,                                       )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment, ECF No. 17, is STRICKEN AS MOOT.
’
              The parties’ Stipulated Motion for Remand, ECF No. 24, is GRANTED.
              The matter is REVERSED and REMANDED to the Commissioner of Social Security for further administrative
              proceeding pursuant to sentence four of 42 U.S.C. § 405(g).
              Judgment entered in favor of Plaintiff.

This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                         MARY K. DIMKE                                       on a motion for
      remand.


Date: 11/8/2021                                                            CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Tonia Ramirez
                                                                                          (By) Deputy Clerk

                                                                            Tonia Ramirez
